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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
______________________________________
                                       )
UNITED STATES SECURITIES               )
AND EXCHANGE COMMISSION,              )
                                      )  Civil Action No. 18-CV-5587
                  Plaintiff,          )
          v.                          )
                                      )  Hon. Judge John Z. Lee
EQUITYBUILD, INC.,                    )
EQUITYBUILD FINANCE, LLC,             )
JEROME H. COHEN and                   )
SHAUN D. COHEN                        )
                                      )
                  Defendants,          )
                                 _____)

                                      REPLY IN SUPPORT OF
                                 PETITION FOR ATTORNEY'S FEES

        Pursuant to the Court's Minute Order (Dkt. 43), Braganca Law hereby files its reply in

support of its petition for attorney's fees.

        Introduction

        On Thursday, August 16, Braganca Law was engaged to represent all defendants in a

securities fraud case filed the night before by the SEC. The SEC sought a TRO, asset freeze, and

the appointment of a receiver over all defendants. Mark Rosenberg, who had been representing

Equitybuild in the SEC's investigation, sought local counsel with SEC and trial experience.

Braganca Law, along with Friedman Law, began work immediately to respond to the SEC's

motion.
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        On Friday, August 17, after an evidentiary hearing, the Court entered a TRO/asset freeze

and a receiver order. At that time, defendants' counsel raised the issue of the Cohens' living

expenses and attorney's fees with the Court. The Court asked that the issue be briefed.

        On Monday, August 20, Braganca Law filed a motion informing the Court that defendants

had made wire transfers in the amount of $20,000 before the Court had entered its orders. Braganca

Law requested that those funds be released from the asset freeze to pay attorney's fees and expenses

that Braganca Law and Friedman Law incurred August 16-19. 1

        On August 28, the SEC filed objections to the petition. The Equitybuild receiver has not

filed an objection to the petition.


        1. The SEC's objections


        The SEC raised two objections to the petition. First, the SEC objected to the release of any

frozen assets for attorney's fees alleging that such an action is expressly prohibited by Seventh

Circuit precedent. Second, the SEC objected to the request for payment for work done on the two

days immediately after the entry of the TRO/asset freeze. On those days, counsel was preparing

for the preliminary injunction hearing as well as providing advice to the Cohens on the Court's

orders and the case.


        2. The Court may, in the exercise of its equitable powers, authorize the release of
           frozen assets for attorney's fees


        The Court may exercise its discretion to release frozen assets for the payment of attorney's

fees and living expenses. Courts can, and do, release funds to defendants for living expenses and



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       Since the entry of the TRO/asset freeze, defendants' counsel Mark Rosenberg has been trying to get the
SEC and the Receiver to agree to release funds for the Cohens' living expenses.

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attorney's fees, even when those funds might be traceable to investors. Courts do so in order to

ensure fairness and to avoid undue hardship.

         Denying funds to the Cohens for attorney's fees would be a severe financial hardship and

jeopardize the fairness of the proceedings. The Cohens have no other assets from which to pay

attorney's fees. The Cohens have cooperated with the SEC and Equitybuild receiver. They have

consented to a bifurcated judgment. The involvement of counsel for the Cohens has saved the

receiver and SEC time and has made these proceedings more efficient and orderly.

         If the Court declines to release funds for the payment of attorney's fees, Braganca Law will

seek to withdraw from the case. The Cohens may be forced to proceed pro se.


         3. Courts have equitable power to release funds to pay attorney's fees.


         Courts have broad discretion in supervising an equitable distribution of assets in

government enforcement actions including releasing funds from an asset freeze for payment of

living expenses as well as attorney's fees. SEC v. Gonzalez de Castilla, 170 F. Supp. 2d 427, 430

(S.D.N.Y. 2001). The power to release funds from an asset freeze is the corollary to the power to

freeze those assets. Id.

         Courts routinely exercise their authority to release frozen assets for payment of defendants'

attorney's fees in cases alleging fraud, even over the objection of the government. See SEC v.

Gonzalez de Castilla 170 F. Supp. 2d at 430 (court released assets frozen in ex parte TRO for

defendant's attorney's fees); FTC v. Capital Acquisitions and Management Co., et al., No. 04-C-

7781, Dkt. 235 (N.D. Ill. Sept. 14, 2005) (MJ Nolan) (releasing funds from asset freeze for

defendant's attorney's fees); FTC v. Amy Travel Service, Inc., 875 F.2d 564 (7th Cir. 1989)

(acknowledging magistrate's exercise of discretion in releasing assets for defendant's attorney's

fees).

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        Important factors in determining whether to release funds for attorney's fees are the

financial hardship imposed on defendants accused of fraud in SEC enforcement cases and the

fairness of the proceedings. In SEC v. Dowdell, 175 F. Supp. 2d 850, 855 (W.D.Va. 2001), the

court released funds from an asset freeze for attorney's fees, as well as living expenses because the

defendant had no other source of funds. While noting the same language the SEC cites in SEC v.

Quinn, 997 F.2d 287 (7th Cir. 1993), the Dowdell court observed, "[t]he case law is anything but

consistent on whether defendants in this type of civil enforcement action may be permitted to pay

attorney's fees with a portion of frozen assets." Id. The court released funds to pay defendant's

attorneys stating:

        This court's central concern is the fairness of the proceedings. The court does not
        believe that it could achieve a fair result at the preliminary injunction hearing were
        it to deny defendants the ability to retain counsel.

Id. at 856.

        Here, the financial hardship is severe. Cohens have no other assets from which to pay

attorney's fees. Moreover, the risk of an unfair proceeding is significant. The Cohens require legal

advice in order to continue cooperating with the SEC and receiver. The Cohens also require legal

representation in the proceedings going forward.


        3. The authority cited by the SEC does not support its contention that the Court
           cannot release funds


        The SEC states that the Cohens' lawyers cannot be paid with frozen assets or receivership

funds. Opp. at 2. That is not true. As shown above, courts can and frequently do exercise their

discretion to release frozen assets – even assets that may have come from investors or

consumers. The cases cited by the SEC do not say otherwise.




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       While it recites the colorful and oft-cited "bank robber" quote from SEC v. Quinn, 997 F.2d

287, 289 (7th Cir. 1993), the SEC fails disclose that frozen assets were released in that case to pay

attorney's fees. Id. The Seventh Circuit did not admonish or criticize the district court for releasing

funds from the asset freeze for the defense of the case. Id. While the SEC cites SEC v. Quinn, as

"expressly hold[ing]" that defendants accused of securities fraud "are not entitled to use investors'

money to fund their legal defense" (Opp. at 2 (emphasis added)), that is not at issue. We do not

contend that the Cohens are "entitled" to the release of attorney's fees for their defense. We request

that the Court exercise its discretion to release funds for the payment of attorney's fees.

       The SEC cites numerous cases that are inapposite. In CFTC v. Wilson, 2011 U.S. Dist.

LEXIS 146153 (S.D. Calif. Dec. 20, 2011), attorneys argued that a retainer was not subject to an

asset freeze order. That is not at issue in this case. In SEC v. Current Fin. Servs., 62 F. Supp. 2d

66 (D.D.C. 1999), a pro se litigant argued that an asset freeze violated his constitutional right to

counsel and that certain frozen assets were his personal property. Those are not issues in this case.

In SEC v. Grossman, 887 F. Supp. 649 (S.D.N.Y. 1995), and SEC v. Merrill Scott & Assocs., 2008

U.S. Dist. LEXIS 1077 (D. Utah Jan 7, 2008), the courts simply exercised their discretion to deny

requests for the release of frozen assets for attorney's fees.

       In SEC v. Cobalt Multifamily Investors, 2007 U.S. Dist. LEXIS 25872 (S.D.N.Y. April 2,

2007), a magistrate judge treated the payment of a retainer to an attorney made while an SEC

motion for an asset freeze was pending as a violation of asset freeze. Treating the transfer of funds

before the entry of an asset freeze as equivalent to a post-asset-freeze transfer is simply wrong.

The SEC is required to make a showing to a court of law before a defendant's assets may be frozen.

       In this case, the retainer payments were made before the Court entered the TRO/asset freeze

and receiver orders. In this case, at the time the TRO/asset freeze and receiver orders were entered,



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we asked the Court to address attorney's fees and living expenses. The Court instructed us to brief

the issues. We did as instructed.



        We respectfully ask the Court to exercise its discretion and release the frozen $20,000

retainer payment for payment of attorney's fees incurred. Should the Court not release the funds

for payment of attorney's fees, Celiza Braganca intend to request leave to withdraw from the

case.



August 28, 2018
                                             Respectfully submitted,

                                             JEROME COHEN and SHAUN COHEN




                                             By:
                                                     One of Their Attorneys

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